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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

- - - - - - - - - - - - - - - - - -x
                                    :
UNITED STATES OF AMERICA            :   ORDER
                                    :
          - v. -                    :
                                    :
VINCENT FYFE,                       :   16 Cr. 583 (JSR)
                                    :
                  Defendant.        :
                                    :
- - - - - - - - - - - - - - - - - X
           Upon the application by Vincent Fyfe, by and through his

 attorney, Joseph Giaramita, Esq., for an exemption under section

 504 of the Labor-Management Reporting and Disclosure Act of 1959

 (“LMRDA”), 29 U.S.C. § 504, and for the reasons set forth on the

 record in this matter on February 2, 2021,

           IT IS HEREBY ORDERED:

           The defendant’s motion for an exemption under 29

 U.S.C. § 504(a) is GRANTED. The Court exempts VINCENT FYFE from

 Section 504's bar to employment to permit FYFE to work as a

 consultant to businesses on labor relations and other issues,

 provided that does not include work for labor unions in any

 capacity listed by 29 U.S.C. § 504(a)(1)-(5), or any work in any

 capacity listed in 29 U.S.C. § 1111, including working for

 employee benefit plans, or advising or consulting to such plans,

 or in any capacity involving decision-making authority or


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custody over assets or other property of pension or benefit

plans.

            If, prior to February 2, 2034, the defendant seeks

any other position or employment within the meaning of 29

U.S.C. § 504(a)(1)-(5) or 29 U.S.C. § 1111, including a

position with a labor union, the defendant must seek another

exemption or other relief under Section 504 or 1111, as

appropriate.




New York, New York
February 19
_____________, 2021
                              __________________________________
                              THE HONORABLE JED S. RAKOFF
                              UNITED STATES DISTRICT JUDGE
                              SOUTHERN DISTRICT OF NEW YORK




                                      2
